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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION


                                      :
UNITED STATES OF AMERICA,             :              NO. 1:06-CR-00111
                                      :
                                      :
           v.                         :              OPINION AND ORDER
                                      :
                                      :
STEVEN E. WARSHAK, et al.             :
                                      :


           This matter is before the Court on Defendants’ Motion to

Reconsider Denial of Motion for Notice of Government Search or

Seizures (doc. 76), the Government’s Response (doc. 92), and

Defendants’ Reply (doc. 93). For the reasons indicated herein, the

Court DENIES Defendants’ Motion.

           Defendants move the Court to reconsider its February 27,

2007   Order    (doc.   73),   denying      them     notice   of   whether    prior

interceptions,     searches,     or       seizures    occurred     (doc.     76).

Defendants argue that absent such notice, they cannot challenge the

constitutionality of any such searches or seizures, or otherwise

vindicate their rights under the exclusionary rule, the First,

Fifth, Sixth, or Fourteenth Amendments (Id.).

           The United States responds that Defendants’ Motion fails

to meet or even address the standards for reconsideration, which

are (1) a clear error of law, (2) newly discovered evidence, (3) an

intervening change in controlling law, or (4) the need to prevent

manifest injustice (doc. 92, citing United States v. Holtzhauer,
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No. 2:05-CR-170, 2006 WL 1582444 (S.D. Ohio, June 8, 2006), Huff v.

Metropolitan Life Ins. Co., 675 F.2d 119, 122 (6th Cir. 1982)). The

government argues Defendants merely restate and expound upon the

grounds in their initial motion, which the Court already considered

and denied (Id.).         The government argues Defendants’ motion makes

no claim or showing of any error of law, newly discovered evidence,

or any intervening change of law (Id.).                It further argues that

there is no manifest injustice in the Court’s refusal to require

the government to divulge its criminal investigative techniques,

and Defendants can cite to no authority compelling the disclosure

they seek (Id.).

                 Defendants reply that the government fails to address

their constitutional arguments, and tries to cabin the discussion

within the confines of Fed. R. Crim. P. 16 (doc. 93).                  Defendants

argue Rule 16 represents the floor of criminal discovery but does

not constitute the ceiling (Id.).             Defendants argue the disclosure

of    any   heretofore     secret    government      searches    or   seizures      is

constitutionally compelled (Id.).

                 Having reviewed this matter, the Court finds no basis to

reconsider its Order denying Defendants notice of whether prior

interceptions, searches, or seizures occurred. Defendants have not

established that the Court should vacate its prior Order due to a

clear error of law, newly discovered evidence, an intervening

change      in    controlling   law,   or     the   need   to   prevent   manifest


                                          2
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injustice.     Accordingly, the Court DENIES Defendants’ Motion to

Reconsider Denial of Motion for Notice of Government Search or

Seizures (doc. 76).




           SO ORDERED.

Dated: April 10, 2007               /s/ S. Arthur Spiegel
                                   S. Arthur Spiegel
                                   United States Senior District Judge




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